Case 1:19-cv-00958-TWP-DLP. pocument 79-11 Filed 08/27/19 Page 1 of 1 PagelD #: 1048

beet ie.
STATE OF INDIANA ye IN THE DELAWARE SUPERIOR COURT NO. 2
SS:
COUNTY OF DELAWARE ) TERM: 1992

CAUSE NO. 18D02-9204-CF-46

STATE OF INDIANA
VS

WILLIAM BARNHOUSE

Comes now the State of Indtana by Jeff Arnold, Deputy Prosecutor, and comes
now the defendant William Barnhouse, in person and without counsel for
initial hearing. Court advises defendant of: (1)})pertinént constitutional
and statutory rights; (2})nature and character of charge herein; ;
(3)penaities provided upon conviction. Defendant requests Public Defender.
Defandant found entitled to Public Defender and Delaware County Public
Defender Office is ordered to have Jack Quirk répresent defendant heréin.
Court now enters informal plea of not guilty herein to Rape, Class A .
Felony, which plea will become formal after 20 days unless defendant's
counsel desires to plead otherwise within said time. Omnibus date and pre-
trial conference Set for dune 25, 1992, at 1:30P.M. Trial by jury set for
August 31, 1992, at 9:00A.M. Defendant remanded to the Delaware County
dail or any other secure facility for adults that does riot violate the
Federal Court orders in the case of Michael Dunn et al. v. dames P. Carey
et at. IP-78-108€. ps

DATED: April 23, 1992. . vy

 

  
 

, JUDGE PRO TEM
1OR COURT 2

 
